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 3
                           UNITED STATES DISTRICT COURT
 4                        EASTERN DISTRICT OF CALIFORNIA
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 6
     UNITED STATES OF AMERICA,     )
 7                                 )
                    Plaintiff      )                1:05-CR-184 OWW
 8                                 )
          v.                       )
 9                                 )
     RONNIE RODRIGUEZ,             )
10                                 )
                    Defendant      )           ORDER RECOMMENDING INSTITUTION
11   ______________________________)
12
          The Court hereby recommends the defendant be incarcerated
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     at the facility at Lompoc, California, but only insofar as it
14
     meets with space availability and security classification
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     Dated: February 1, 2007                   /s/ OLIVER W. WANGER
17                                             ______________________________
                                               OLIVER W. WANGER
18                                             United States District Judge
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